Case 1-20-10903-MJK, Doc 80, Filed 07/23/20, Entered 07/23/20 08:44:17,
                Description: Main Document , Page 1 of 104
 Fill in this information to identify the case:

 Debtor name            Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NY

 Case number (if known)               1-20-10903-CLB
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        5,068,498.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      16,049,244.29

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      21,117,742.29


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        7,426,757.57


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $        2,336,344.19

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      37,835,144.65


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        47,598,246.41




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)         1-20-10903-CLB
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                         $1,355.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                                                                            General Operations
            3.1.   Citzens Bank, N.A.                                       Account                      7221                                 $907,434.00




            3.2.   Bank of America                                          Holding Account              7071                                    $6,799.00



                                                                            Board Restricted / ER
            3.3.   Citizens Bank, N.A.                                      Donations Account            6037                                 $624,509.00




            3.4.   Citizens Bank, N.A.                                      Gas Account                  6045                                  $11,572.00




            3.5.   Citizens Bank, N.A.                                      Payroll Account              6177                                 $327,469.00




            3.6.   Citizens Bank, N.A.                                      Capital Account              5982                                    $3,102.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor            Eastern Niagara Hospital, Inc.                                            Case number (If known) 1-20-10903-CLB
                   Name


                     Cornerstone Community Federal Credit
            3.7.     Union                                                  PPP Loan Proceeds                                        $5,053,421.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $6,935,661.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid - Synergy ZIX Gateway License (7/2018-7/2019)                                                                  $946.00




            8.2.     Prepaid - Forward Advantage (4/2019-4/2020)                                                                        $12,292.00




            8.3.     Prepaid - Forward Advantage (12/2019 - 12/2020)                                                                    $19,625.00




            8.4.     Prepaid - Foward Advantage (8/2019-8/2020)                                                                             $175.00




            8.5.     Prepaid - DrFirst.com Inc. (12/2014-12/2017)                                                                       $17,060.00




            8.6.     Prepaid - DrFirst.com Inc. (4/2019-4/2020)                                                                           $2,917.00




            8.7.     Prepaid - DrFirst.com Inc. (12/2019-12/2020)                                                                       $13,466.00




            8.8.     Prepaid - Dr.First.com Inc. (3/27/2020-3/26/2021)                                                                    $3,307.00




            8.9.     Prepaid - Tri-Delta Resources (4/1/2020-6/30/2020)                                                                   $2,325.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                Name


           8.10
           .    Prepaid - Kronos (8/2019-8/2020)                                                                                          $1,012.00



           8.11
           .    Prepaid - Hanys - Clintegrity License Fee (10/24/2019-10/23/2020)                                                       $13,850.00



           8.12
           .    Prepaid - Hanys - Clintegrity License Fee EAPG (11/3/2019 - 11/2/2020)                                                    $3,839.00



           8.13
           .    Prepaid - Hanys Sepsis Tool License Fee (1/2020 - 12/2020)                                                                  $774.00



           8.14
           .    Prepaid - Abacus Medical (4/2019-4/2020)                                                                                  $3,896.00



           8.15
           .    Prepaid - Pentax Medical Company (1/2020 - 12/2020) 5 Year Total                                                        $10,069.00



           8.16
           .    Prepaid - ApplicantPro (4/22/2019-4/21/2020)                                                                              $1,784.00



           8.17
           .    Prepaid - Intuitive (Robot) (12/28/2019-3/27/2020)                                                                      $12,000.00



           8.18
           .    Prepaid - Washington Hunt (2017-2021) Start in January 2017                                                               $4,750.00



           8.19
           .    Prepaid - Pantheon Capital LLC - Lease #1030-09, Last Payment 4/2021                                                    $13,520.37



           8.20
           .    Prepaid - Medical Liability Mutual Insurance (Dr. Khalil) (April 2020-June 2020)                                            $829.00



           8.21
           .    Prepaid - Medical Liability Mutual Insurance (Dr. Siddiqui) (April 2020-June 2020)                                          $727.00



           8.22
           .    Prepaid - Medical Liability Mutual Insurance (Dr. Shitteh) (April 2020-June 2020)                                           $274.00



           8.23
           .    Prepaid - Medical Liability Mutual Insurance (Dr. Hughes) (July 2010-July 2020)                                             $571.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                Name


           8.24
           .    Prepaid - Lawley Service Inc. (Healthcare Package) (4/2020-4/2021)                                                      $21,167.00



           8.25
           .    Prepaid - Lawley Service Inc. (Cyber Liability) (4/2020-4/2021)                                                         $19,993.00



           8.26
           .    Nuance (1/2020 - 4/2020)                                                                                                  $1,548.00



           8.27
           .    TCF National Bank                                                                                                         $4,335.00



           8.28
           .    Tri-Delta Resources                                                                                                       $4,650.00



           8.29
           .    Travelers                                                                                                               $12,576.00



           8.30
           .    University Emergency Medical Services                                                                                   $63,333.00



           8.31
           .    Pantheon Capital                                                                                                          $4,750.00



           8.32
           .    Arthrex                                                                                                                 $12,244.00



           8.33
           .    Unknown                                                                                                                   $2,639.00



           8.34
           .    Travelers Insurance (Auto & Property) (10/2019-10/2020)                                                                 $28,548.00



           8.35
           .    Travelers Insurance (Inland Marine) (10/2019-10/2020)                                                                     $5,051.00



           8.36
           .    Lawley Agency, LLC (Agency Fee - NYSIF) (4/2020-4/2021)                                                                 $22,727.00




 9.        Total of Part 2.                                                                                                      $343,569.37
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         Eastern Niagara Hospital, Inc.                                                 Case number (If known) 1-20-10903-CLB
                Name

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                         1,653,497.00    -                                0.00 = ....              $1,653,497.00
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                               756,398.00   -                               0.00 =....                  $756,398.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                        $2,409,895.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.     LPL Financial Stocks                                                               Statement                        $113,416.00




           14.2.     Prudential Stock (325 shares)                                                                                        $16,946.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     ENSO                                                           40          %       Investment                        $80,000.00




           15.2.     Seagate Alliance                                               12.42       %       Investment                          $5,000.00



                     Majority shareholder of Eastern Niagara
           15.3.     Services Organization, LLC                                                 %                                           Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         Eastern Niagara Hospital, Inc.                                                Case number (If known) 1-20-10903-CLB
                Name


 17.       Total of Part 4.                                                                                                       $215,362.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Medical Supplies                           12/31/2019                   $1,370,970.00     Recent cost                      $1,370,970.00



 23.       Total of Part 5.                                                                                                     $1,370,970.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value            1,482,152.00 Valuation method         FIFO               Current Value               1,482,152.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Movable Equipment                                                       $4,590,079.00     Net Book Value                   $4,590,079.00



 40.       Office fixtures

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
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 Debtor         Eastern Niagara Hospital, Inc.                                                Case number (If known) 1-20-10903-CLB
                Name

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $4,590,079.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2018 Dodge Grand Caravan                                         $22,306.00     Book Value                           $11,153.00


           47.2.     2013 Ford EC350 Van                                              $22,306.00     Book Value                             $4,833.00


           47.3.     2016 Ford Escape                                                 $30,917.50     Book Value                             $9,275.25


           47.4.     2012 Ford XLT 4WD                                                $11,296.00     Book Value                             $1,882.67



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Fixed Equipment, Leasehold Improvements                                   $156,564.00     Book Value                          $156,564.00



 51.       Total of Part 8.                                                                                                       $183,707.92
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         Eastern Niagara Hospital, Inc.                                                Case number (If known) 1-20-10903-CLB
                Name


            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 521 East Avenue,
                     Lockport, NY (Main
                     Hospital Campus)
                     Tax Map No.
                     109.42-2-2                           Fee simple               $1,827,000.00      Net Book Value                  $1,827,000.00


           55.2.     53 Elizabeth Drive,
                     Lockport, NY
                     Tax Map No.
                     123.12-1-11                          Fee simple                  $59,460.00      Net Book Value                     $59,460.00


           55.3.
                     6037 Ketchum
                     Avenue, Newfane, NY                  Fee simple                  $20,389.00      Net Book Value                     $20,389.00


           55.4.     2600 William Street,
                     Newfane, NY
                     Tax Map Nos.
                     38.08-2-50,
                     38.08-2-51.1,
                     38.08-2-71, and
                     38.08-2-73.1                         Fee simple                 $280,270.00      Net Book Value                    $280,270.00


           55.5.
                     5875 South Transit,
                     Lockport, NY                                                  $2,881,379.00      Net Book Value                  $2,881,379.00




 56.       Total of Part 9.                                                                                                        $5,068,498.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
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                Name



 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Travelers Property Casualty Company of America Policy
            No. P6308N069208TIL19 (property insurance)                                                                                    Unknown


            Travelers Property Casualty Company of America Policy
            No. QT6602P458745TIL19 (equipment insurance)                                                                                  Unknown


            Travelers Indemnity Co. of America Policy No.
            BA8N084795-19-CAG (business automobile insurance)                                                                             Unknown


            PAM Group Policy No. 2019000449629 (Workers'
            Compensation insurance)                                                                                                       Unknown


            Ace American Insurance Co. Policy No. D94857922
            (cyber liability plus insurance)                                                                                              Unknown


            Allied World Specialty Insurance Policy No. 03113705
            (D&O/Employment Practices/Fiduciary/Crime insurance)                                                                          Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                $0.00
            Add lines 71 through 77. Copy the total to line 90.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 9
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                Name



 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 10
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 Debtor          Eastern Niagara Hospital, Inc.                                                                      Case number (If known) 1-20-10903-CLB
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $6,935,661.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $343,569.37

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,409,895.00

 83. Investments. Copy line 17, Part 4.                                                                           $215,362.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,370,970.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $4,590,079.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $183,707.92

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,068,498.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $16,049,244.29             + 91b.            $5,068,498.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $21,117,742.29




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 11
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 Fill in this information to identify the case:

 Debtor name          Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)              1-20-10903-CLB
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Ford Credit                                   Describe debtor's property that is subject to a lien                    $5,657.27                $9,275.25
        Creditor's Name                               2016 Ford Escape
        Attn: Customer Service
        Center
        P.O. Box 542000
        Omaha, NE 68154-8000
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Karl Storz Capital                            Describe debtor's property that is subject to a lien                  $66,157.53              $120,961.65
        Creditor's Name                               Laparoscopy Towers
        1111 Old Eagle School
        Road
        Wayne, PA 19087
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 7
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                                   Description: Main Document , Page 14 of 104
 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)      1-20-10903-CLB
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Mindray DS USA Inc.                            Describe debtor's property that is subject to a lien                      $94,951.94     $130,060.18
       Creditor's Name                                Telemetry Monitors (2 North & ICU)
       1300 MacArthur Boulevard
       Mahwah, NJ 07430
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Pantheon Capital LLC                           Describe debtor's property that is subject to a lien                     $262,452.99     $748,475.00
       Creditor's Name                                Miscellaneous Equipment - Lease 1030-08
       Crossroads Corporate
       Center
       1 International Boulevard,
       Suite 624
       Mahwah, NJ 07495
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Pantheon Capital LLC                           Describe debtor's property that is subject to a lien                      $75,962.15     $169,427.24
       Creditor's Name                                Miscellaneous Equipment - Lease 1030-09
       Crossroads Corporate
       Center
       1 International Boulevard,
       Suite 624
       Mahwah, NJ 07495
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 7
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                                  Description: Main Document , Page 15 of 104
 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)    1-20-10903-CLB
              Name


                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   RBS Citizens Bank, N.A.                        Describe debtor's property that is subject to a lien                 $3,482,439.16     $907,434.00
       Creditor's Name                                Patients Accounts Receivable
       n/k/a Citizens Bank, N.A.
       3524 West Genesee Street
       Syracuse, NY 13219
       Creditor's mailing address                     Describe the lien
                                                      Mortgage - Pension Loan
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/13/2013                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. RBS Citizens Bank, N.A.
       2. RBS Citizens Bank, N.A.

 2.7   RBS Citizens Bank, N.A.                        Describe debtor's property that is subject to a lien                 $2,628,855.00     $907,434.00
       Creditor's Name                                Patients Accounts Receivable
       n/k/a Citizens Bank, N.A.
       3524 West Genesee Street
       Syracuse, NY 13219
       Creditor's mailing address                     Describe the lien
                                                      Mortgage - Construction Loan
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/06/2013                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 7
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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)      1-20-10903-CLB
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.6

 2.8   RBS Citizens Bank, N.A.                        Describe debtor's property that is subject to a lien                     $316,177.39               $0.00
       Creditor's Name                                Patients Accounts Receivable
       n/k/a Citizens Bank, N.A.
       3524 West Genesee Street
       Syracuse, NY 13219
       Creditor's mailing address                     Describe the lien
                                                      Pension Interest Rate Swap
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/13/2013                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   RBS Citizens Bank, N.A.                        Describe debtor's property that is subject to a lien                     $255,281.59               $0.00
       Creditor's Name                                Patients Accounts Receivable
       n/k/a Citizens Bank, N.A.
       3524 West Genesee Street
       Syracuse, NY 13219
       Creditor's mailing address                     Describe the lien
                                                      Construction Interset Rate Swap
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/06/2013                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Siemens Financial
 0     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $102,865.76     $106,799.28
       Creditor's Name                                Mammomat Inspiration
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 7
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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)     1-20-10903-CLB
              Name

       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Siemens Financial
 1     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $37,410.00         $29,070.67
       Creditor's Name                                Ultrasound Acuson S1000
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Siemens Financial
 2     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $26,330.72         $29,070.67
       Creditor's Name                                Ultrasound S1000
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 7
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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)     1-20-10903-CLB
              Name

 2.1   Siemens Financial
 3     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $26,330.72         $34,554.35
       Creditor's Name                                Ultrasound Acuson S2000
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Siemens Financial
 4     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $29,602.21         $32,682.57
       Creditor's Name                                Ultrasound S2000
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Siemens Financial
 5     Services, Inc.                                 Describe debtor's property that is subject to a lien                     $16,283.14         $76,954.21
       Creditor's Name                                DX Vista 500
       170 Wood Avenue South
       7th Floor
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 7
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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)       1-20-10903-CLB
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                               $7,426,757.5
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          7

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        RBS Citizens Bank, N.A.
        n/k/a Citizens Bank, N.A.                                                                             Line   2.8
        Attn: Interest Rate Risk Management
        One Citzens Plaza
        Providence, RI 02903




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)          1-20-10903-CLB
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1                                                                                                                                                      $2,236,721.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  $2,236,721.00         00
           Accrued Wages & Benefits                                  Check all that apply.
           c/o Eastern Niagara Hospital                               Contingent
           521 East Avenue                                            Unliquidated
           Lockport, NY 14094                                         Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,461.50        $3,461.50
           Beney, Christopher M.D., P.C.                             Check all that apply.
           77 Elizabeth Street                                        Contingent
           Lockport, NY 14094                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 66
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 Debtor       Eastern Niagara Hospital, Inc.                                                                  Case number (if known)   1-20-10903-CLB
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,090.00     $0.00
          Buccilli, Andrea M. M.D.                                   Check all that apply.
          5 Overloook Park                                            Contingent
          Lancaster, NY 14086                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,500.00     $0.00
          Crooks, David M.D.                                         Check all that apply.
          42 Countryside Lane                                         Contingent
          Depew, NY 14043                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $46,490.00     $46,490.00
          Deferred Salaries                                          Check all that apply.
          c/o Eastern Niagara Hospital                                Contingent
          521 East Avenue                                             Unliquidated
          Lockport, NY 14094                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,700.00     $0.00
          Dey, Manjushree M.D.                                       Check all that apply.
          734 Davison Road                                            Contingent
          Lockport, NY 14094                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 66
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 Debtor       Eastern Niagara Hospital, Inc.                                                                  Case number (if known)   1-20-10903-CLB
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,166.69     $0.00
          Fattouch, Hany M.D.                                        Check all that apply.
          PO Box 785                                                  Contingent
          Buffalo, NY 14226                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,090.00     $0.00
          Fetterman, Charles J. M.D.                                 Check all that apply.
          6420 Tonawanda Creek Road                                   Contingent
          Lockport, NY 14094                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,400.00     $0.00
          Hodge, Robert W. M.D.                                      Check all that apply.
          8842 Haseley Road                                           Contingent
          Gasport, NY 14067                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,300.00     $3,300.00
          Johnson, Eric M.D.                                         Check all that apply.
          59 West Avenue                                              Contingent
          Brockport, NY 14420                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                                  Case number (if known)   1-20-10903-CLB
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,825.00     $10,825.00
          Lopez, Oscar S. M.D. P.C.                                  Check all that apply.
          42 Brookshire Court                                         Contingent
          East Amherst, NY 14051                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,800.00     $6,800.00
          Nenno, Donald J. II M.D.                                   Check all that apply.
          468 Delaware Avenue, Suite 200                              Contingent
          Buffalo, NY 14202                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,100.00     $4,100.00
          Roberto, Craig M.D.                                        Check all that apply.
          #2 Wik Street                                               Contingent
          Buffalo, NY 14221                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,400.00     $2,400.00
          Schratz, Jeffrey M.D.                                      Check all that apply.
          160 East Avenue                                             Contingent
          Lockport, NY 14094                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor        Eastern Niagara Hospital, Inc.                                                                 Case number (if known)          1-20-10903-CLB
               Name

 2.15       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $800.00     $0.00
            Weiler, M.D., Mary                                       Check all that apply.
            3983 Wilson-Cambria Road                                  Contingent
            Ransomville, NY 14131                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,500.00    $1,500.00
            Zinno, Matthew M.D.                                      Check all that apply.
            5953 Kilarney Manor                                       Contingent
            Clarence Center, NY 14032                                 Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                          $0.00
           1199 SEIU Regional Pension Fund                                          Contingent
           2421 Main Street                                                         Unliquidated
           Suite 100                                                                Disputed
           Buffalo, NY 14214
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,036.00
           Aaron Dautch Sternberg & Lawson                                          Contingent
           43 Court Street                                                          Unliquidated
           730 Convention Tower                                                     Disputed
           Buffalo, NY 14202
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,800.00
           Abbott Laboratories, Inc.                                                Contingent
           100 Abbott Park Road                                                     Unliquidated
           North Chicago, IL 60064                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Abbott Nutrition                                                    Contingent
          100 Abbott Park Road                                                Unliquidated
          North Chicago, IL 60064-6048                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,573.90
          Ability Network Inc.                                                Contingent
          100 North 6th Street                                                Unliquidated
          Suite 900A                                                          Disputed
          Minneapolis, MN 55403
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ACC Business                                                        Contingent
          400 West Avenue                                                     Unliquidated
          Rochester, NY 14611                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $625.45
          Ace Mechanical Services LLC                                         Contingent
          4568 Bailey Avenue                                                  Unliquidated
          Buffalo, NY 14226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Advanced Medical Physics PLLC                                       Contingent
          840 Aero Drive, Suite 150                                           Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,283.33
          Advanced Sterilization Products                                     Contingent
          33 Technology Drive                                                 Unliquidated
          Irvine, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          Advantage Flooring & Tile                                           Contingent
          2 Wendling Court                                                    Unliquidated
          Lancaster, NY 14086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $107.96
          Aesculap                                                            Contingent
          3773 Corporate Parkway                                              Unliquidated
          Center Valley, PA 18034                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,260.00
          Agility Health Inc.                                                 Contingent
          6625 West 78th Street, Suite 300                                    Unliquidated
          Minneapolis, MN 55439                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,726.00
          AHC Media LLC                                                       Contingent
          PO Box 74008620                                                     Unliquidated
          Chicago, IL 60674-8620                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $46.60
          AIV Inc.                                                            Contingent
          7485 Shipley Avenue                                                 Unliquidated
          Harmans, MD 21077                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.90
          Alco Sales & Service                                                Contingent
          6851 High Grove Boulevard                                           Unliquidated
          Willowbrook, IL 60527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130,471.50
          ALCON Laboratories, Inc.                                            Contingent
          6201 South Freeway                                                  Unliquidated
          Fort Worth, TX 76134-2099                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0038
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $853.00
          Alere Toxicology Services Inc.                                      Contingent
          1111 Newton Street                                                  Unliquidated
          Gretna, LA 70053                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $717.77
          Alimed Inc.                                                         Contingent
          297 High Street                                                     Unliquidated
          Dedham, MA 02026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,732.65
          All State Fire Equipment of WNY                                     Contingent
          400 Mineral Springs Road                                            Unliquidated
          Buffalo, NY 14224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $663.00
          Allosource                                                          Contingent
          6278 South Troy Circle                                              Unliquidated
          Centennial, CO 80111                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.47
          Alpha Tec Systems Inc.                                              Contingent
          1311 SE Cardinal Court                                              Unliquidated
          Suite 170                                                           Disputed
          Vancouver, WA 98683
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.70
          Ambu Inc.                                                           Contingent
          6230 Old Dobbin Lane, Suite 250                                     Unliquidated
          Columbia, MD 21045                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          American IV                                                         Contingent
          7485 Shipley Avenue                                                 Unliquidated
          Harmans, MD 21077                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,808.23
          American Red Cross                                                  Contingent
          PO Box 33093                                                        Unliquidated
          Newark, NJ 07188-0093                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,837.50
          AMN Healthcare Inc.                                                 Contingent
          2735 Collection Centre Drive                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59,790.98
          AMO Sales and Service Inc.                                          Contingent
          1700 East St. Andrew Place                                          Unliquidated
          Santa Ana, CA 92705                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Amwins Group Benefits Inc.                                          Contingent
          50 Whitecap Drive                                                   Unliquidated
          North Kingstown, RI 02852                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.00
          AnyBattery Inc.                                                     Contingent
          PO Box 312                                                          Unliquidated
          Rosemount, MN 55068                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,928.00
          Applied Medical                                                     Contingent
          22872 Aventia Impressa                                              Unliquidated
          Rancho Santa Margarita, CA 92688                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $479.11
          Applied Medical Technologies                                        Contingent
          8006 Katherine Boulevard                                            Unliquidated
          Brecksville, OH 44141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,996.00
          Argon Medical Devices                                               Contingent
          2600 Dallas Parkway, Suite 400                                      Unliquidated
          Frisco, TX 75034                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,494.20
          Arjo Inc.                                                           Contingent
          2349 West Lake Street                                               Unliquidated
          Addison, IL 60101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          Armored Access Inc.                                                 Contingent
          4429 Union Road                                                     Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $736.00
          Armstrong Medical Ind. Inc.                                         Contingent
          575 Knightsbridge Parkway                                           Unliquidated
          Lincolnshire, IL 60069-0700                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,737.16
          Arrow International Inc.                                            Contingent
          2400 Bernville Road                                                 Unliquidated
          Reading, PA 19605                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,508.70
          Arthrex Inc.                                                        Contingent
          1370 Creekside Boulevard                                            Unliquidated
          Naples, FL 34108                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,088.80
          Ascend Capital                                                      Contingent
          1400 Industrial Way                                                 Unliquidated
          Redwood City, CA 94063                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $106.50
          ASR Systems Group Inc.                                              Contingent
          100 Commerce Boulevard                                              Unliquidated
          PO Box 728                                                          Disputed
          Liverpool, NY 13088-0728
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          AT&T                                                                Contingent
          Attn: Legal Department                                              Unliquidated
          208 South Akard Street                                              Disputed
          Dallas, TX 75202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,372.00
          Atlas Health Care Linen Services Co., LL                            Contingent
          dba Clarus Linen Systems                                            Unliquidated
          60 Grider Street                                                    Disputed
          Buffalo, NY 14215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $355.00
          Audiomedtric Technology                                             Contingent
          90 Earhart Drive, Suite 2                                           Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,613.45
          Auditz LLC                                                          Contingent
          33206 Collection Center Drive                                       Unliquidated
          Chicago, IL 60693-0331                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $897.72
          Avanos Medical Inc.                                                 Contingent
          5405 Windward Parkway                                               Unliquidated
          Suite 100 South                                                     Disputed
          Alpharetta, GA 30004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $230.85
          Award Equipment Co. Inc.                                            Contingent
          1774 Brant Road                                                     Unliquidated
          North Collins, NY 14111                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,129.96
          B J Muirhead Co. Inc.                                               Contingent
          115 Mid County Drive                                                Unliquidated
          Orchard Park, NY 14127                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bard Access Systems                                                 Contingent
          605 North 4600 West                                                 Unliquidated
          Salt Lake City, UT 84116                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bard Medical Division                                               Contingent
          8195 Industrial Boulevard                                           Unliquidated
          Covington, GA 30014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bard Peripheral Vascular (IMPRA)                                    Contingent
          1625 West 3rd Street                                                Unliquidated
          Tempe, AZ 85281                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Barsuk, David                                                       Contingent
          2337 Main Road                                                      Unliquidated
          East Pembroke, NY 14056                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,677.42
          Baxter Healthcare Corp.                                             Contingent
          PO Box 33037                                                        Unliquidated
          Newark, NJ 07188-0037                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,424.45
          Bayer Healthcare                                                    Contingent
          1 Bayer Drive                                                       Unliquidated
          Indianola, PA 15051-0780                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,250.07
          Beatty Marketing & Sales, Inc.                                      Contingent
          9345 151st Avenue NE                                                Unliquidated
          Redmond, WA 98052-3515                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $356.64
          Beaver Visitec International Inc.                                   Contingent
          500 Totten Pond Road                                                Unliquidated
          Waltham, MA 02451                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $291.74
          Becton Dickinson                                                    Contingent
          One Becton Drive                                                    Unliquidated
          Franklin Lakes, NJ 07417                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,489.50
          Beekley Corporation                                                 Contingent
          One Prestige Lane                                                   Unliquidated
          Bristol, CT 06010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          Beney, Christopher M.D. P.C.                                        Contingent
          77 Elizabeth Street                                                 Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Benistar                                                            Contingent
          10 Tower Lane                                                       Unliquidated
          Avon, CT 06001                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $484.85
          Benoit Security Inc.                                                Contingent
          7736 West Somerset Road                                             Unliquidated
          Appleton, NY 14008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Best Buy Government and Education                                   Contingent
          7601 Penn Avenue S                                                  Unliquidated
          Minneapolis, MN 55423                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          BHS Foodservice Solutions                                           Contingent
          375 Commerce Drive                                                  Unliquidated
          Buffalo, NY 14226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,183.21
          Bio-Rad Laboratories                                                Contingent
          9500 Meronimo Road                                                  Unliquidated
          Irvine, CA 92618-2017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,482.50
          BioServ                                                             Contingent
          10 Gramar Avenue                                                    Unliquidated
          Prospect, CT 06712                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $235.00
          Biotek Services Inc.                                                Contingent
          5310 South Laburnum Avenue                                          Unliquidated
          Henrico, VA 23231                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,982.50
          Blackburn's Specialty Products                                      Contingent
          301 Corbett Street                                                  Unliquidated
          Tarentum, PA 15084                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Blue Cross Blue Shield of WNY                                       Contingent
          Senior Blue                                                         Unliquidated
          PO Box 644362                                                       Disputed
          Pittsburgh, PA 15264-4362
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,074.55
          Bond, Schoeneck & King PLLC                                         Contingent
          200 Delaware Avenue, Suite 900                                      Unliquidated
          Buffalo, NY 14202-2107                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $253,339.68
          Boston Scientific Corporation                                       Contingent
          100 Boston Scientific Way                                           Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4638
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Boulevard Produce                                                   Contingent
          655 Young Street                                                    Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,816.43
          Bracco Diagnostics Inc.                                             Contingent
          259 Prospect Plains Road, Bldg H                                    Unliquidated
          Monroe Township, NJ 08831                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,709.97
          Bridgehead Software Inc.                                            Contingent
          400 West Cummings Park                                              Unliquidated
          Suite 6050                                                          Disputed
          Woburn, MA 01801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $319.44
          Brightview Radiology                                                Contingent
          210 West 101st Street, #10C                                         Unliquidated
          New York, NY 10025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $192.50
          BSC Medical                                                         Contingent
          200 Fifth Avenue, Suite 3020                                        Unliquidated
          Waltham, MA 02451                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $216.00
          Buffalo Alarm Inc.                                                  Contingent
          1325 Millersport Highway                                            Unliquidated
          Suite 109                                                           Disputed
          Buffalo, NY 14221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $509.49
          Buffalo Expert Service Tech.                                        Contingent
          3003 Genesee Street                                                 Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,444.41
          Buffalo Hospital Supply                                             Contingent
          4039 Genesee Street                                                 Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.41
          Buffalo Hotel Supply                                                Contingent
          PO Box 646                                                          Unliquidated
          Buffalo, NY 14226-0646                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,091.00
          Buffalo Pharmacies                                                  Contingent
          1479 Kensington Street                                              Unliquidated
          Buffalo, NY 14215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,235.00
          Buffalo Protection & Investigation                                  Contingent
          603 Division Street, Suite 30                                       Unliquidated
          North Tonawanda, NY 14120                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,844.00
          Buffalo Synapse Support LLC                                         Contingent
          609 Ridge Road                                                      Unliquidated
          Buffalo, NY 14218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Building Specialties (L&W Supply)                                   Contingent
          380 Dick Road                                                       Unliquidated
          Depew, NY 14043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $121.30
          Byrne Dairy, Inc.                                                   Contingent
          2394 U.S. Route 11                                                  Unliquidated
          La Fayette, NY 13084-0176                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,315.62
          Cafora's                                                            Contingent
          2885 Main Street                                                    Unliquidated
          Newfane, NY 14108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Canon Financial Services, Inc.                                      Contingent
          158 Gaither Drive                                                   Unliquidated
          Mount Laurel, NJ 08054                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,912.88
          CaptureNet                                                          Contingent
          4835 East Cactus Road                                               Unliquidated
          Suite 430                                                           Disputed
          Scottsdale, AZ 85254
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $703.00
          CardiacDirect                                                       Contingent
          5963 Olivas Park Drive                                              Unliquidated
          Suite F                                                             Disputed
          Ventura, CA 93003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109,281.65
          Cardinal Health                                                     Contingent
          PO Box 13862                                                        Unliquidated
          Newark, NJ 07188-0862                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $152,608.84
          Cardinal Health - Syracuse Division                                 Contingent
          6012 Molloy Road                                                    Unliquidated
          Syracuse, NY 13211-4864                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,141.65
          Cardinal Health Optifrieght                                         Contingent
          PO Box 13862                                                        Unliquidated
          Newark, NJ 07188                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,743.10
          Carestream Health Inc.                                              Contingent
          150 Verona Street                                                   Unliquidated
          Rochester, NY 14608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $212.50
          Cash Register Sales Services                                        Contingent
          2501 Union Road                                                     Unliquidated
          Buffalo, NY 14227                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,854.61
          CBCS                                                                Contingent
          PO Box 2724                                                         Unliquidated
          Columbus, OH 43216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $932.30
          CDW Government Inc.                                                 Contingent
          200 N Milwaukee Avenue                                              Unliquidated
          Vernon Hills, IL 60061                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,208.50
          Change Healthcare Technology                                        Contingent
          5994 Windward Parkway                                               Unliquidated
          Alpharetta, GA 30005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,854.46
          Chem-Aqua                                                           Contingent
          PO Box 152170                                                       Unliquidated
          Irving, TX 75015                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,700.00
          Choice Spine                                                        Contingent
          400 Erin Drive                                                      Unliquidated
          Knoxville, TN 37919                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,863.77
          Cicero Consulting Associates                                        Contingent
          925 Westchester Avenue, Suite 201                                   Unliquidated
          White Plains, NY 10604                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,263.50
          Cincinnati Sub Zero                                                 Contingent
          12011 Mosteller Road                                                Unliquidated
          Cincinnati, OH 45241                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Lockport Treasurer                                          Contingent
          One Locks Plaza                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $304,275.76
          Clark Patterson Lee                                                 Contingent
          205 St. Paul Street, Suite 500                                      Unliquidated
          Rochester, NY 14604                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3088
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,058.45
          Clean Textiles Systems LP                                           Contingent
          40 51st Street                                                      Unliquidated
          Pittsburgh, PA 15201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Clerk, M.D., Harnath                                                Contingent
          2610 Williams Street                                                Unliquidated
          Newfane, NY 14108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,954.00
          Clinical Equipment Services CNY                                     Contingent
          8417 Oswego Road                                                    Unliquidated
          Baldwinsville, NY 13027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,635.50
          Community Computer Service Inc.                                     Contingent
          15 Hulbert Street                                                   Unliquidated
          Auburn, NY 13021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,322.50
          Conjerti Moving Co LLC                                              Contingent
          4536 Kayner Road                                                    Unliquidated
          Gasport, NY 14067                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,841.88
          Conmed Corporation                                                  Contingent
          525 French Road                                                     Unliquidated
          Utica, NY 13502                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $119,145.30
          Connect Life                                                        Contingent
          4444 Bryant and Stratton Way                                        Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,351.71
          Cook Medical Incorporated                                           Contingent
          750 North Daniels Way                                               Unliquidated
          Bloomington, IN 47404                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.39
          Coopersurgical                                                      Contingent
          95 Corporate Drive                                                  Unliquidated
          Trumbull, CT 06611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,739.02
          Core Sound Imaging Inc.                                             Contingent
          7000 Six Forks Road                                                 Unliquidated
          Suite 102                                                           Disputed
          Raleigh, NC 27615
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,853,436.00
          Cornerstone Community FCU                                           Contingent
          6485 South Transit Road                                             Unliquidated
          Lockport, NY 14094
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8000
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,719.64
          Covidien LP                                                         Contingent
          Attn: Debra M. Ford                                                 Unliquidated
          15 Hampshire Street                                                 Disputed
          Mansfield, MA 02048
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9916                         Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,473.88
          CR Bard                                                             Contingent
          8195 Industrial Boulevard                                           Unliquidated
          Covington, GA 30014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,414.89
          CR Bard                                                             Contingent
          100 Crossings Boulevard                                             Unliquidated
          Warwick, RI 02886                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $720.00
          CR Bard                                                             Contingent
          605 North 5600 West                                                 Unliquidated
          Salt Lake City, UT 84116                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,657.05
          CR Bard                                                             Contingent
          1415 West 3rd Street                                                Unliquidated
          Tempe, AZ 85281                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $137,133.40
          CRS Nuclear Services LLC                                            Contingent
          840 Aero Drive, Suite 150                                           Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1025
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.48
          Crystal Rock                                                        Contingent
          6750 Discovery Boulevard                                            Unliquidated
          Mableton, GA 30126                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $492.50
          Culligan Water Conditioning                                         Contingent
          31 Lewis Road                                                       Unliquidated
          Akron, NY 14001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,975.12
          Cummins Northeast                                                   Contingent
          700 Aero Drive                                                      Unliquidated
          Buffalo, NY 14225
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,164.06
          Davis-Ulmer Sprinkler Co.                                           Contingent
          Attn: Dennis Metz                                                   Unliquidated
          One Commerce Drive                                                  Disputed
          Buffalo, NY 14228-2395
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Davol                                                               Contingent
          100 Crossings Boulevard                                             Unliquidated
          Warwick, RI 02886                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $24,202,691.00
          DB Pension Plan                                                     Contingent
          c/o Eastern Niagara Hospital                                        Unliquidated
          521 East Avenue
                                                                              Disputed
          Lockport, NY 14094
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $276.50
          De Soutter Medical USA Inc.                                         Contingent
          224 Rolling Hill Road                                               Unliquidated
          Suite 12A                                                           Disputed
          Mooresville, NC 28117
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,269.00
          Depuy Inc.                                                          Contingent
          5972 Collections Center Drive                                       Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $430.46
          Dex Media                                                           Contingent
          2200 West Airfield Drive                                            Unliquidated
          Dallas, TX 75261                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.57
          Diagnostic Solutions                                                Contingent
          11343 Bloom Road                                                    Unliquidated
          Garrettsville, OH 44231                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,119.87
          Diamond Healthcare Communications                                   Contingent
          231318 Momentum Place                                               Unliquidated
          Chicago, IL 60689-5311                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Direct Energy Business                                              Contingent
          Attn: Customer Relations                                            Unliquidated
          1001 Liberty Avenue                                                 Disputed
          Pittsburgh, PA 15222
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.00
          Diversatek Healthcare Inc.                                          Contingent
          102 East Keefe Avenue                                               Unliquidated
          Milwaukee, WI 53212                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,383.75
          Diversified Services                                                Contingent
          2900 Delaware Avenue                                                Unliquidated
          Buffalo, NY 14217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,176.24
          Dobmeier Janitor Supply Inc.                                        Contingent
          354 Englewood Avenue                                                Unliquidated
          Buffalo, NY 14223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,371.48
          Draeger Inc.                                                        Contingent
          3135 Quarry Road                                                    Unliquidated
          Telford, PA 18969                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,875.00
          DrFirst.com Inc.                                                    Contingent
          9420 Key West Avenue                                                Unliquidated
          Suite 230                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,987.81
          Dutch Opthalmic USA                                                 Contingent
          10 Continental Drive Bldg 1                                         Unliquidated
          Exeter, NH 03833                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $108.16
          E&L Repair                                                          Contingent
          5998 Walnut Street                                                  Unliquidated
          Newfane, NY 14108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,833.34
          Eastern Great Lakes Pathology                                       Contingent
          20 Northpointe Parkway, Suite 100                                   Unliquidated
          Buffalo, NY 14228                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eastern Niagara Hospital Inc. Petty Cash                            Contingent
          521 East Avenue                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,188.89
          Eastern Niagara Medical Group PC                                    Contingent
          534 Main Street                                                     Unliquidated
          Medina, NY 14103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,727.24
          Eastern Niagara Svcs Organization                                   Contingent
          5875 Transit Road                                                   Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,000.04
          Eastern Vacuum and Compressor Svcs                                  Contingent
          4500 Middle Cheshire Boulevard                                      Unliquidated
          Canandaigua, NY 14424                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $564.62
          Ecolab HCS/Microtek Medical                                         Contingent
          PO Box 911633                                                       Unliquidated
          Dallas, TX 75391-1633                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $973.56
          EcoLab Institutional                                                Contingent
          1 Ecolab Place                                                      Unliquidated
          Saint Paul, MN 55102-2233                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,996.34
          Ehrlich Co. Inc.                                                    Contingent
          505 Duke Road, Suite 300                                            Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $83.95
          EM Cahill Company Inc.                                              Contingent
          519 South Wilber Avenue                                             Unliquidated
          Syracuse, NY 13204                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          EMC Corporation                                                     Contingent
          176 South Street                                                    Unliquidated
          Hopkinton, MA 01748                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.00
          EMSL Analytical Inc.                                                Contingent
          200 Route 130 North                                                 Unliquidated
          Cinnaminson, NJ 08077                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,050.00
          Engage It                                                           Contingent
          1801 Lind Avenue SW                                                 Unliquidated
          Renton, WA 98057                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $554.25
          Environmental Services Group (NY)                                   Contingent
          177 Wales Avenue                                                    Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,478.08
          Erie County Medical Center                                          Contingent
          462 Grider Street                                                   Unliquidated
          Buffalo, NY 14215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ESCAN                                                               Contingent
          33206 Collection Center Drive                                       Unliquidated
          Chicago, IL 60693-0331                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $420.00
          Esolutions                                                          Contingent
          WS#165                                                              Unliquidated
          PO Box 414378                                                       Disputed
          Kansas City, MO 64141-4378
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Evans Bank, N.A.                                                    Contingent
          1 Grimsby Drive                                                     Unliquidated
          Hamburg, NY 14075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,565.61
          Evoqua Water Technologies LLC                                       Contingent
          Attn: Legal Department                                              Unliquidated
          210 Sixth Avenue, Suite 3300                                        Disputed
          Pittsburgh, PA 15222
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $43.85
          Federal Express Co.                                                 Contingent
          2352 Delaware Avenue                                                Unliquidated
          Buffalo, NY 14216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,044.45
          FFF Enterprises                                                     Contingent
          44000 Winchester Road                                               Unliquidated
          Temecula, CA 92590                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,062.00
          Fibertech Medical USA LLC                                           Contingent
          1533 Monument Street                                                Unliquidated
          Concord, MA 01742-5325                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,255.84
          Fisher Healthcare                                                   Contingent
          4500 Turnberry Drive                                                Unliquidated
          Hanover Park, IL 60133                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $520.00
          Flaschner, M.D., Steven                                             Contingent
          770 Davison Road                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,000.00
          Flex Operating Room LLC                                             Contingent
          1175 Pittsford Victor Road                                          Unliquidated
          Suite 140                                                           Disputed
          Pittsford, NY 14534
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.99
          Flint Brothers                                                      Contingent
          2769 Main Street                                                    Unliquidated
          Newfane, NY 14108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,889.00
          Fortec Litho NY, LLC                                                Contingent
          6245 Hudson Crossing Parkway                                        Unliquidated
          Hudson, OH 44236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $287.47
          Fresenius Kabi LLC                                                  Contingent
          25476 Network Place                                                 Unliquidated
          Chicago, IL 60673-1254                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,888.53
          Fresenius USA Marketing Inc.                                        Contingent
          920 Winter Street                                                   Unliquidated
          Waltham, MA 02451-1457                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $295.00
          Freudenberg Medical LLC                                             Contingent
          1110 Mark Avenue                                                    Unliquidated
          Carpinteria, CA 93013                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,420.00
          FTS Management Inc.                                                 Contingent
          7475 N Clare Avenue                                                 Unliquidated
          PO Box 800                                                          Disputed
          Harrison, MI 48625
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,596.74
          Garfunkel Wild PLC                                                  Contingent
          111 Great Neck Road                                                 Unliquidated
          Great Neck, NY 11021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,749.26
          GE Precision Healthcare LLC                                         Contingent
          3000 North Grandview Boulevard                                      Unliquidated
          Waukesha, WI 53188                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,150.80
          Gerster Trane (Trane USA Inc.)                                      Contingent
          45 Earhart Drive                                                    Unliquidated
          Suite 103                                                           Disputed
          Buffalo, NY 14221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $665.39
          Getinge USA Sales LLC                                               Contingent
          45 Barbour Pond Drive                                               Unliquidated
          Wayne, NJ 07470                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $398.00
          GI Supply                                                           Contingent
          5069 Ritter Road, Suite 104                                         Unliquidated
          Mechanicsburg, PA 17055                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,512.49
          Gorenflo's Buffalo Wholesale Lock                                   Contingent
          1349 Main Street                                                    Unliquidated
          Buffalo, NY 14209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,307.54
          Grainger Inc.                                                       Contingent
          50 McKesson Parkway                                                 Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,004.94
          Great Lakes Medical Imaging LLC                                     Contingent
          199 Park Club Lane, Suite 300                                       Unliquidated
          Williamsville, NY 14221                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Great Lakes Surgical Inc.                                           Contingent
          14200 W Greenfield Avenue                                           Unliquidated
          Brookfield, WI 53005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Guardian                                                            Contingent
          10 Hudson Yards                                                     Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $491.25
          Hardy Diagnostics                                                   Contingent
          1430 W McCoy Lane                                                   Unliquidated
          Santa Maria, CA 93455                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Haroon, M.D., Muneeb                                                Contingent
          822 Davison Road                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Harris Beach PLLC                                                   Contingent
          99 Garnsey Road                                                     Unliquidated
          Pittsford, NY 14534                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.00
          Health Care Logistics, Inc.                                         Contingent
          PO Box 25                                                           Unliquidated
          Circleville, OH 43113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.88
          Health Care Technology                                              Contingent
          200 Butterfield Drive                                               Unliquidated
          Ashland, MA 01721                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,540.00
          Health Facility Assessment Fund                                     Contingent
          PO Box 4757                                                         Unliquidated
          Syracuse, NY 13221-4757                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Health System Services                                              Contingent
          6867 Williams Road                                                  Unliquidated
          Niagara Falls, NY 14304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93,509.43
          Healthcare Association NYS Inc.                                     Contingent
          PO Box 5535 GPO                                                     Unliquidated
          New York, NY 10087-5535                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $82.90
          Healthmark Industries                                               Contingent
          18600 Malyn Boulevard                                               Unliquidated
          Burlington, MA 01803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $834.17
          Herschell, Suzanne                                                  Contingent
          dba Herschell Medical Transcription Svc                             Unliquidated
          338 Brooksboro Drive                                                Disputed
          Webster, NY 14580
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,562.00
          Hologic Limited Partnership                                         Contingent
          250 Campus Drive                                                    Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $297.79
          Home Depot Credit Services                                          Contingent
          250 Campus Drive                                                    Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,242.56
          Hoot LLC                                                            Contingent
          54 Bridlewood Drive                                                 Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $743.00
          Hovertech                                                           Contingent
          4482 Innovation Way                                                 Unliquidated
          Allentown, PA 18109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          Howard P. Schultz & Associates                                      Contingent
          4 Centre Drive                                                      Unliquidated
          Orchard Park, NY 14127                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          HSBC Business Solutions                                             Contingent
          PO Box 5229                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $243.00
          ICAD Inc.                                                           Contingent
          98 Spitbrook Road                                                   Unliquidated
          Suite 100                                                           Disputed
          Nashua, NH 03062
                                                                             Basis for the claim:
          Date(s) debt was incurred
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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,848.72
          Immucor Inc.                                                        Contingent
          3130 Gateway Drive                                                  Unliquidated
          Norcross, GA 30091-5625                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,744.00
          Imperial Door Controls Inc.                                         Contingent
          85 Oriskany Drive                                                   Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Independent Health Association                                      Contingent
          Dept 264                                                            Unliquidated
          PO Box 8000                                                         Disputed
          Buffalo, NY 14267-0002
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0557                         Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,590.00
          Infusystem                                                          Contingent
          11130 Strang Line Road                                              Unliquidated
          Lenexa, KS 66215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Inhealth Technologies                                               Contingent
          1110 Mark Avenue                                                    Unliquidated
          Carpinteria, CA 93013-2918                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Inland Northwest Health Services Inc.                               Contingent
          601 West 1st Avenue                                                 Unliquidated
          Spokane, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,293.00
          Innovative Blood Resources                                          Contingent
          CB-0008, PO Box 1164                                                Unliquidated
          Minneapolis, MN 55480-1164                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,354.68
          Integra Lifesciences Corp                                           Contingent
          311 Enterprise Drive                                                Unliquidated
          Plainsboro, NJ 08536                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,900.00
          Interface People                                                    Contingent
          2274 Rockbrook Drive                                                Unliquidated
          Lewisville, TX 75067                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,888.68
          Interstate All Battery Center                                       Contingent
          7808 Transit Road                                                   Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $119,588.95
          Intuitive Surgical Inc.                                             Contingent
          1266 Kifer Road                                                     Unliquidated
          Sunnvale, CA 94086-5206                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2004
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,043.63
          Island Fox Inc. dba Health Wear of WNY                              Contingent
          3 Peuquet Parkway                                                   Unliquidated
          Tonawanda, NY 14150-2413                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62,090.07
          J & J Health Care Systems                                           Contingent
          425 Hoes Lane                                                       Unliquidated
          Piscataway, NJ 08855-6800                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,836.63
          J.H. Dodman Meat Co.                                                Contingent
          116 Michigan Avenue                                                 Unliquidated
          Buffalo, NY 14204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.95
          J.J. Keller & Associates Inc.                                       Contingent
          PO Box 6609                                                         Unliquidated
          Carol Stream, IL 60197-6609                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $526.17
          Jacob Kern and Sons Inc.                                            Contingent
          56 Nicholls Street                                                  Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Jehrio, M.D. P.C., Gregory T.                                       Contingent
          52 Bonner Drive                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,545.00
          John W. Danforth Co.                                                Contingent
          300 Colvin Woods Parkway                                            Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,550.85
          Johnston Paper Co. Inc.                                             Contingent
          2 Eagle Drive                                                       Unliquidated
          Auburn, NY 13021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $909.00
          Joseph Glickman & Associates                                        Contingent
          94 Broadmoor Drive                                                  Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $286,656.00
          Kaleida Health Dept of Finance                                      Contingent
          726 Exchange Street                                                 Unliquidated
          Suite 200                                                           Disputed
          Buffalo, NY 14210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $208,561.68
          Kaleida Health Patient                                              Contingent
          726 Exchange Street, Suite 300                                      Unliquidated
          Buffalo, NY 14210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0751
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,074.75
          Karl Storz Endoscopy American                                       Contingent
          91 Carpenter Hill Road                                              Unliquidated
          Charlton, MA 01507                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,008.34
          KCI USA                                                             Contingent
          PO Box 301557                                                       Unliquidated
          Dallas, TX 75303-1557                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220,368.20
          Keystone Medical Services NY, PC                                    Contingent
          Crescent Center                                                     Unliquidated
          6075 Poplar Avenue, Suite 401                                       Disputed
          Memphis, TN 38119
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0538                         Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $394.50
          Kirwan Surgical                                                     Contingent
          180 Enterprise Drive                                                Unliquidated
          Marshfield, MA 02050                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,555.45
          Koester Associates Inc.                                             Contingent
          3101 Seneca Turnpike                                                Unliquidated
          Canastota, NY 13032                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $58.47
          Korff Electric, Inc.                                                Contingent
          60 Market Street                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $605.30
          L&W Supply Corporation                                              Contingent
          380 Dick Road                                                       Unliquidated
          Depew, NY 14043-1817                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122,256.90
          Laboratory Corp America Holdings                                    Contingent
          PO Box 12140                                                        Unliquidated
          Burlington, NC 27216-2140                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.26
          Language Services Associates                                        Contingent
          455 Business Center Drive                                           Unliquidated
          Suite 100                                                           Disputed
          Horsham, PA 19044
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,163.00
          Laser Solutions                                                     Contingent
          6700 Lincoln Avenue                                                 Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,007.31
          Latina Boulevard Foods, LLC                                         Contingent
          1 Scrivner Drive                                                    Unliquidated
          Buffalo, NY 14227                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,593.92
          Lawns Unlimited Landscaping                                         Contingent
          2344 Hess Road                                                      Unliquidated
          Appleton, NY 14008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Life Gas                                                            Contingent
          10 Arrowhead Lane                                                   Unliquidated
          Cohoes, NY 12047                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $391.61
          Life Instrument Corporation                                         Contingent
          91 French Avenue                                                    Unliquidated
          Braintree, MA 02184                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,665.82
          Lifenet Health                                                      Contingent
          385 North French Road, Suite 100                                    Unliquidated
          Buffalo, NY 14228-2032                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,398.63
          Linde LLC dba Linde Gas North America                               Contingent
          200 Somerset Boulevard                                              Unliquidated
          Bridgewater, NJ 08807-2862                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.23
          Lineage                                                             Contingent
          385 North French Road                                               Unliquidated
          Buffalo, NY 14228                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $177.84
          Linstar Inc.                                                        Contingent
          430 Lawrence Bell Drive                                             Unliquidated
          Buffalo, NY 14221-7085                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,680.00
          Localedge                                                           Contingent
          1945 Sheridan Drive                                                 Unliquidated
          Buffalo, NY 14223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $183.28
          Lockport Journal                                                    Contingent
          135 Main Street                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $195.00
          Lopez, Philip M.D. / MRO Express                                    Contingent
          3501 SW 185th Avenue                                                Unliquidated
          Hollywood, FL 33029                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          LSA Video Inc.                                                      Contingent
          455 Business Center Drive                                           Unliquidated
          Suite 100                                                           Disputed
          Horsham, PA 19044
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $297.00
          M Carter Decor / Abbey Carpet                                       Contingent
          360 West Avenue                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,889.57
          Macro Helix LLC                                                     Contingent
          PO Box 742256                                                       Unliquidated
          Atlanta, GA 30374-2256                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,769.00
          Mader Construction                                                  Contingent
          970 Bullis Road                                                     Unliquidated
          PO Box 420                                                          Disputed
          Elma, NY 14059
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.00
          Mainline Medical, Inc.                                              Contingent
          2710 Northridge Drive NW                                            Unliquidated
          Suite B                                                             Disputed
          Grand Rapids, MI 49544
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,137.81
          Mar Cor Purification                                                Contingent
          4450 Township Line Road                                             Unliquidated
          PO Box 1429                                                         Disputed
          Skippack, PA 19474-1429
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,024.90
          Marketlab Inc.                                                      Contingent
          6850 Southbelt Drive SE                                             Unliquidated
          Caledonia, MI 49316-7680                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,794.00
          Masimo                                                              Contingent
          40 Parker                                                           Unliquidated
          Irvine, CA 92618-1604                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,555.00
          MaxMD                                                               Contingent
          2200 Fletcher Avenue, Suite 506                                     Unliquidated
          Fort Lee, NJ 07024-5063                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128,017.22
          McKesson Medical-Surgical Inc.                                      Contingent
          9954 Mayland Drive, Suite 4000                                      Unliquidated
          Henrico, VA 23228-1484                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $374.05
          McMaster-Carr Supply Co.                                            Contingent
          PO Box 94930                                                        Unliquidated
          Cleveland, OH 44101-4930                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $518.00
          Med-Label                                                           Contingent
          4 Briarhurst Drive                                                  Unliquidated
          Flanders, NJ 07836                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,548.84
          Medcom Solutions Inc.                                               Contingent
          1010 Ohio River Boulevard                                           Unliquidated
          Suite 200                                                           Disputed
          Pittsburgh, PA 15202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,104.37
          Medi-Dose Inc.                                                      Contingent
          70 Industrial Drive                                                 Unliquidated
          Warminster, PA 18974                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,196.00
          Media Displays Inc.                                                 Contingent
          109 S Main Street, Box 434                                          Unliquidated
          Harrisville, PA 16038                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,348.00
          Medical Information Technology, Inc.                                Contingent
          1 Meditech Circle                                                   Unliquidated
          Westwood, MA 02090                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $566.00
          Medical Liability Mutual                                            Contingent
          8 British American Boulevard                                        Unliquidated
          Latham, NY 12110-1415                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,036.46
          Medivators Incorporated                                             Contingent
          14605 28th Avenue North                                             Unliquidated
          Minneapolis, MN 55447                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,932.06
          Medline Industries Inc.                                             Contingent
          One Medline Place                                                   Unliquidated
          Mundelein, IL 60060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,199.54
          Medtox Laboratories Inc.                                            Contingent
          402 West Country Road D                                             Unliquidated
          Saint Paul, MN 55112-3597                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,800.00
          Medtronic                                                           Contingent
          710 Medtronic Parkway                                               Unliquidated
          Minneapolis, MN 55432-5604                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Memorial Blood Centers                                              Contingent
          737 Pelham Boulevard                                                Unliquidated
          Saint Paul, MN 55114                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,688.75
          Mercy Flight Inc.                                                   Contingent
          PO Box 535                                                          Unliquidated
          Baldwinsville, NY 13027                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,632.45
          Merit Medical Systems Inc.                                          Contingent
          1600 West Merit Parkway                                             Unliquidated
          South Jordan, UT 84095                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,549.14
          Merry X-Ray Inc.                                                    Contingent
          8020 Tyler Boulevard                                                Unliquidated
          Mentor, OH 44060                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,971.18
          Messer North America                                                Contingent
          200 Somerset Corporate Boulevard                                    Unliquidated
          Suite 7000                                                          Disputed
          Bridgewater, NJ 08807
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,406.50
          Metrodata Inc.                                                      Contingent
          403 Main Street, Suite 624                                          Unliquidated
          Buffalo, NY 14203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,135.10
          Micro Focus Software Inc.                                           Contingent
          PO Box 641025                                                       Unliquidated
          Pittsburgh, PA 15264-1025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $69.00
          Micro-Aire                                                          Contingent
          2400 Austin Drive                                                   Unliquidated
          Charlottesville, VA 22911                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,219.00
          Microsurgical Technology                                            Contingent
          8415 154 Avenue NE                                                  Unliquidated
          Redmond, WA 98052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Microtek Medical Inc.                                               Contingent
          PO Box 2487                                                         Unliquidated
          Columbus, MS 39704-2487                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Midland States Bank                                                 Contingent
          7700 Bonhomme Avenue, Suite 300                                     Unliquidated
          Saint Louis, MO 63105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,251.82
          Midstate Bakery Distributors, Inc.                                  Contingent
          PO Box 23354                                                        Unliquidated
          Rochester, NY 14692                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,106.25
          Milligray & Associates                                              Contingent
          2141 Williston Heights                                              Unliquidated
          Marilla, NY 14102-9717                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,538.24
          Mindray Capital                                                     Contingent
          PO Box 24245                                                        Unliquidated
          Seattle, WA 98124-0245                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,377.22
          Mindray DS USA Inc.                                                 Contingent
          1300 MacArthur Boulevard                                            Unliquidated
          Mahwah, NJ 07430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $813.50
          Mirion Technologies Inc.                                            Contingent
          PO Box 19536                                                        Unliquidated
          Irvine, CA 92623                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,760.00
          Misonix Inc.                                                        Contingent
          1938 New Highway                                                    Unliquidated
          Farmingdale, NY 11735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,629.50
          MJ Mechanical Services, Inc.                                        Contingent
          95 Pirson Parkway                                                   Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Mobile Digital Imaging                                              Contingent
          2795 Genesee Street                                                 Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,918.94
          Modern Disposal Services, Inc.                                      Contingent
          PO Box 209                                                          Unliquidated
          Model City, NY 14107                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,958.26
          Mohawk Hospital Equipment Inc.                                      Contingent
          335 Columbia Street                                                 Unliquidated
          Utica, NY 13503                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,749.21
          Montondo's Seafood Inc.                                             Contingent
          201 East Avenue                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $312.75
          Mortan Inc.                                                         Contingent
          PO Box 8719                                                         Unliquidated
          Missoula, MT 59807                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $34.00
          Murphy TV & Appliances                                              Contingent
          6300 South Transit Road                                             Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $467,480.00
          Musculoskeletal Transplant Foundation                               Contingent
          125 May Street, Suite 300                                           Unliquidated
          Edison, NJ 08837                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4950
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,850.00
          MYCO Instrumentation Inc.                                           Contingent
          21507 State Route 410E                                              Unliquidated
          Suite B                                                             Disputed
          Bonney Lake, WA 98391
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          National Grid                                                       Contingent
          PO Box 11742                                                        Unliquidated
          Newark, NJ 07101-4742                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,418.14
          NCB Medical Coding Specialists Inc.                                 Contingent
          8975 Main Street                                                    Unliquidated
          Clarence, NY 14031                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,887.50
          New England Medical Specialists                                     Contingent
          PO Box 329                                                          Unliquidated
          354 Old Whitfield Street                                            Disputed
          Guilford, CT 06437
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          New York State Electric & Gas Corp.                                 Contingent
          Attn: Legal Department                                              Unliquidated
          18 Link Drive                                                       Disputed
          Binghamton, NY 13904
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.41
          Newcomer Supply                                                     Contingent
          2505 Parview Road                                                   Unliquidated
          Hayesville, IA 52562                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,062.50
          Niagara Falls Memorial Med Centre                                   Contingent
          621 Tenth Street                                                    Unliquidated
          Niagara Falls, NY 14302                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.54
          Niagara Frontier Equipment Sales                                    Contingent
          4060 Lake Avenue                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,203.60
          Niagara Gazette                                                     Contingent
          473 Third Street                                                    Unliquidated
          Niagara Falls, NY 14301                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,726.56
          Northwest                                                           Contingent
          PO Box 6818                                                         Unliquidated
          Carol Stream, IL 60197-6818                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,690.60
          Nuance Communications                                               Contingent
          One Wayside Drive                                                   Unliquidated
          Burlington, MA 01803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,051.88
          NY Imaging                                                          Contingent
          1 D'Alfonso Road                                                    Unliquidated
          Newburgh, NY 12550                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NYS Unemployment Insurance                                          Contingent
          PO Box 4301                                                         Unliquidated
          Binghamton, NY 13902-4301                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,380.00
          Ohio Medical Corporation                                            Contingent
          1111 Lakeside Drive                                                 Unliquidated
          Gurnee, IL 60031-4099                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,484.02
          Olympus America Inc.                                                Contingent
          Attn: Legal Department                                              Unliquidated
          350 Corporate Parkway                                               Disputed
          Center Valley, PA 18034-0610
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,192.00
          Omnicell Inc.                                                       Contingent
          509 East Middlefield Road                                           Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,888.77
          Optum360/UHC                                                        Contingent
          11000 Optum Circle                                                  Unliquidated
          Eden Prairie, MN 55344                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,750.00
          Organogenesis Inc.                                                  Contingent
          150 Dan Road                                                        Unliquidated
          Canton, MA 02021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,813.50
          Ortho Clinical Diagnostic                                           Contingent
          100 Inigo Creek                                                     Unliquidated
          Rochester, NY 14626-0871                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $603.59
          Ozark Biomedical, LLC                                               Contingent
          1001 Commerce Place                                                 Unliquidated
          Beebe, AR 72012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,599.97
          Pacific Medical Supply                                              Contingent
          Attn: Accounts Receivable                                           Unliquidated
          212 Avenida Fabricante                                              Disputed
          San Clemente, CA 92672
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.60
          Pal, Amandeep M.D.                                                  Contingent
          210 Golden Pheasant Drive                                           Unliquidated
          Getzville, NY 14068                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,943.00
          Pandion Optimization Alliance                                       Contingent
          3445 Winton Place, Suite 222                                        Unliquidated
          Rochester, NY 14623-2950                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $290.55
          Paper Direct, Inc.                                                  Contingent
          4875 White Bear Parkway                                             Unliquidated
          Saint Paul, MN 55110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120,750.00
          Paradigm Spine LLC                                                  Contingent
          505 Park Avenue, 14th Floor                                         Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2616
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,385.70
          Partssource, LLC                                                    Contingent
          777 Lena Drive                                                      Unliquidated
          Aurora, OH 44202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patterson Medical                                                   Contingent
          n/k/a Performance Health Supply, Inc.                               Unliquidated
          28100 Torch Parkway, Suite 700                                      Disputed
          Warrenville, IL 60555-3938
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $804.52
          PC Connection Inc.                                                  Contingent
          730 Milford Road                                                    Unliquidated
          Merrimack, NH 03054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $56.00
          Pediatric Cardiology Assoc. of WNY                                  Contingent
          936 Delaware Avenue, Suite 100                                      Unliquidated
          Buffalo, NY 14209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $190.00
          Pentax Medical Company                                              Contingent
          3 Paragon Drive                                                     Unliquidated
          Montvale, NJ 07645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,555.62
          Pepsi-Cola Company                                                  Contingent
          700 Anderson Hill Road                                              Unliquidated
          Purchase, NY 10577                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $353.95
          Performance Health                                                  Contingent
          28100 Torch Parkway, Suite 700                                      Unliquidated
          Warrenville, IL 60555                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $157.92
          Pfizer Inc.                                                         Contingent
          PO Box 417510                                                       Unliquidated
          Boston, MA 02241-7510                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,084.00
          PFM Medical Inc.                                                    Contingent
          1916 Palomar Oaks Way                                               Unliquidated
          Suite 150                                                           Disputed
          Carlsbad, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,018.08
          Philips Healthcare                                                  Contingent
          3000 Minuteman Road, MS0400                                         Unliquidated
          Andover, MA 01810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Physician's Record Co.                                              Contingent
          3000 S Ridgeland Avenue                                             Unliquidated
          Berwyn, IL 60402-7000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,925.10
          Plumb-Master, Inc.                                                  Contingent
          51 Lacrue Avenue                                                    Unliquidated
          Glen Mills, PA 19342                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $689,092.00
          PMAIC                                                               Contingent
          380 Sentry Parkway                                                  Unliquidated
          PO Box 3031                                                         Disputed
          Blue Bell, PA 19422
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          PNCEF, LLC dba PNC Equipment Finance                                Contingent
          995 dalton Avenue                                                   Unliquidated
          Cincinnati, OH 45203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $110.28
          Pooley Inc.                                                         Contingent
          196 Vulcan Street                                                   Unliquidated
          Buffalo, NY 14207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.08
          Posey Company                                                       Contingent
          5635 Peck Road                                                      Unliquidated
          Arcadia, CA 91006-0020                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $39.50
          Povinelli Cutlery                                                   Contingent
          3810 Union Road                                                     Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,119.79
          Precision Dynamics Corporation                                      Contingent
          27770 N Entertainment Drive                                         Unliquidated
          Suite 200                                                           Disputed
          Valencia, CA 91355
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,306.05
          Press, Ganey Associates, Inc.                                       Contingent
          Box 88335                                                           Unliquidated
          Milwaukee, WI 53288-0335                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $277.50
          Psychemedics Corporation                                            Contingent
          PO Box 4163                                                         Unliquidated
          Woburn, MA 01888-4163                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,771.00
          Public Goods Pool                                                   Contingent
          PO Box 4757                                                         Unliquidated
          Syracuse, NY 13221-4757                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,836.00
          Public Goods Pool                                                   Contingent
          PO Box 4757                                                         Unliquidated
          Syracuse, NY 13221-4757                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $244.60
          Quality Plus Inc.                                                   Contingent
          60 Lawrence Bell Drive                                              Unliquidated
          Buffalo, NY 14221-7074                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,093.39
          Quest Diagnostics                                                   Contingent
          PO Box 740709                                                       Unliquidated
          Atlanta, GA 30374-0709                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136,263.97
          Refund Insurance                                                    Contingent
          c/o Eastern Niagara Hospital                                        Unliquidated
          521 East Avenue                                                     Disputed
          Lockport, NY 14094
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $514.01
          Refund Medent Patient                                               Contingent
          c/o Eastern Niagara Hospital                                        Unliquidated
          521 East Avenue                                                     Disputed
          Lockport, NY 14094
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,220.71
          Refund Patient                                                      Contingent
          c/o Eastern Niagara Hospital                                        Unliquidated
          421 East Avenue                                                     Disputed
          Lockport, NY 14094
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,935.25
          Rel Comm Inc.                                                       Contingent
          250 Cumberland Street                                               Unliquidated
          Suite 214                                                           Disputed
          Rochester, NY 14605-2801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $590.00
          Reliant Medical Equipment                                           Contingent
          3807 Harlem Road                                                    Unliquidated
          Buffalo, NY 14215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,331.92
          Relias LLC                                                          Contingent
          PO Box 74008620                                                     Unliquidated
          Chicago, IL 60674-8620                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Revint Solutions                                                    Contingent
          6 Hillman Drive                                                     Unliquidated
          Suite 100                                                           Disputed
          Chadds Ford, PA 19317
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,505.75
          Ronco Specialized Systems Inc.                                      Contingent
          84 Grand Island Boulevard                                           Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $272.82
          RR Donnelley                                                        Contingent
          300 Lang Road                                                       Unliquidated
          Grand Island, NY 14072                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $184.80
          Russ Medical Specialties                                            Contingent
          PO Box 997                                                          Unliquidated
          Wilmington, NC 28402                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,167.12
          S & S Worldwide Inc.                                                Contingent
          PO Box 513                                                          Unliquidated
          Colchester, CT 06415-0513                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,241.92
          Safeguard Business Systems, Inc.                                    Contingent
          12000 Ford Road, Suite 300                                          Unliquidated
          Dallas, TX 75234                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,794.94
          Sanofi Pasteur INC                                                  Contingent
          Discovery Drive, Route 611                                          Unliquidated
          PO Box 187                                                          Disputed
          Swiftwater, PA 18370
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $478.85
          Schaefer Plumbing Supply Co. Inc.                                   Contingent
          68 Market Street                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,296.28
          Schlinder Elevator Corp.                                            Contingent
          80 Curtwright Drive, Suite 3                                        Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $66.75
          Security Credit Systems                                             Contingent
          100 River Rock Drive                                                Unliquidated
          Suite 200                                                           Disputed
          Buffalo, NY 14207
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.02
          Sheathing Technologies Inc.                                         Contingent
          675 Jarvis Drive                                                    Unliquidated
          Morgan Hill, CA 95037                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,468.65
          Shred-It USA LLC                                                    Contingent
          400 Riverwalk Parkway, #300                                         Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,224.66
          Siemens Bldg Technologies                                           Contingent
          85 Northpointe Parkway                                              Unliquidated
          Suite 8                                                             Disputed
          Buffalo, NY 14228-1886
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,867.12
          Siemens Financial Services Inc.                                     Contingent
          170 Wood Avenue South, 7th Floor                                    Unliquidated
          Iselin, NJ 08830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,513.47
          Siemens Healthcare Diagnostics Inc.                                 Contingent
          40 Liberty Boulevard                                                Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $153,158.00
          Siemens Medical Solutions USA Inc.                                  Contingent
          40 Liberty Boulevard                                                Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1723
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,300.00
          SJB Services Inc.                                                   Contingent
          5167 South Park Avenue                                              Unliquidated
          Hamburg, NY 14075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,800.00
          Smart Surgical Inc.                                                 Contingent
          3501 West Elder Street                                              Unliquidated
          Suite 104                                                           Disputed
          Boise, ID 83705
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,250.79
          Smith Medical ASD, Inc.                                             Contingent
          226 West Street                                                     Unliquidated
          Keene, NH 03431                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,964.77
          Smith Nephew Endoscopy                                              Contingent
          15 Minuteman Drive                                                  Unliquidated
          Andover, MA 01810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,004.42
          Smith Nephew Orthopedic                                             Contingent
          1450 Brooks Road                                                    Unliquidated
          Memphis, TN 38116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $520.00
          Sofat, M.D., Suresh                                                 Contingent
          64 Davison Court                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $423.99
          Spalding Hardware                                                   Contingent
          215 Davison Road                                                    Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $394.99
          Spectrum f/k/a TimeWarner Cable                                     Contingent
          2604 Seneca Avenue                                                  Unliquidated
          Niagara Falls, NY 14305-3299                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          Spinal Elements                                                     Contingent
          1755 West Oak Parkway                                               Unliquidated
          Marietta, GA 30062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $208,711.00
          Spinal USA Inc.                                                     Contingent
          2050 Executive Drive                                                Unliquidated
          Pearl, MS 39208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2562
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $58.96
          Spok Inc.                                                           Contingent
          3000 Technology Way                                                 Unliquidated
          Suite 400                                                           Disputed
          Plano, TX 75074
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $770.50
          SPS Medical Supply Corp                                             Contingent
          6789 W Henrietta Road                                               Unliquidated
          Rush, NY 14543                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $76.86
          Stahl M.D., David                                                   Contingent
          21 North Main Street                                                Unliquidated
          Middleport, NY 14105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $555.06
          Statlab Medical Products                                            Contingent
          2090 Commerce Drive                                                 Unliquidated
          McKinney, TX 75069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,222.30
          Stericycle, Inc.                                                    Contingent
          910 East 138th Street                                               Unliquidated
          Bronx, NY 10454                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,104.13
          Steris Corporation                                                  Contingent
          5960 Heisley Road                                                   Unliquidated
          Mentor, OH 44060-1834                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.46
          Strate Welding Supply Co.                                           Contingent
          6776 N Canal Road                                                   Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stryker Instruments                                                 Contingent
          2825 Airview Boulevard                                              Unliquidated
          Portage, MI 49002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $414,157.20
          Stryker Orthopaedics                                                Contingent
          325 Corporate Drive                                                 Unliquidated
          Mahwah, NJ 07430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1008
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,952.54
          Stryker Sales Corp.                                                 Contingent
          21343 Network Plaza                                                 Unliquidated
          Chicago, IL 60673-1213
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          Stuart Sports, Inc.                                                 Contingent
          486 Center Street                                                   Unliquidated
          Lewiston, NY 14092                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $465.36
          Summit Print & Mail LLC                                             Contingent
          6042 Old Beattie Road                                               Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,264.29
          Symmetry Surgical, Inc.                                             Contingent
          3034 Owen Drive                                                     Unliquidated
          Antioch, TN 37013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,405.00
          Synergy Global Solutions, Inc.                                      Contingent
          7871 Lehigh Crossing Drive, #1                                      Unliquidated
          Victor, NY 14564                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,664.00
          Synthes USA, LLC                                                    Contingent
          1302 Wrights Lane East                                              Unliquidated
          West Chester, PA 19380                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,388.00
          Teamviewer Germany GMBH                                             Contingent
          PO Box 743135                                                       Unliquidated
          Atlanta, GA 30374                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,520.00
          Tela Bio Inc.                                                       Contingent
          One Great Valley Parkway                                            Unliquidated
          Suite 24                                                            Disputed
          Malvern, PA 19355
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,332.41
          Teleflex Funding LLC                                                Contingent
          3015 Carrington Mill Boulevard                                      Unliquidated
          Morrisville, NC 27560                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,855.20
          Teleflex Medical Inc.                                               Contingent
          PO Box 12600                                                        Unliquidated
          2917 Weck Drive                                                     Disputed
          Durham, NC 27709
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,160.00
          The Drain Doctor                                                    Contingent
          1400 College Avenue                                                 Unliquidated
          Niagara Falls, NY 14305                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.88
          The Sherwin Williams Co.                                            Contingent
          5871 South Transit Road                                             Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $4.43
          Thomas Reuters West                                                 Contingent
          610 Opperman Drive                                                  Unliquidated
          Saint Paul, MN 55123                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,913.00
          Timkey Enterprises                                                  Contingent
          301 Walnut Street                                                   Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $233.05
          Tops Market LLC                                                     Contingent
          6592 Payshpere Circle                                               Unliquidated
          Chicago, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Town & Country Club                                                 Contingent
          717 East Avenue                                                     Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,619.01
          Transunion Healthcare Inc.                                          Contingent
          33206 Collection Center Drive                                       Unliquidated
          Chicago, IL 60693-0331                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,125.00
          Tremco WNY                                                          Contingent
          PO Box 104                                                          Unliquidated
          Lancaster, NY 14086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,232.79
          Tri - Anim Health Services                                          Contingent
          5000 Tuttle Crossing Boulevard                                      Unliquidated
          PO Box 8023                                                         Disputed
          Dublin, OH 43016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,650.00
          Tri-Delta Resources Corp.                                           Contingent
          15 North Street                                                     Unliquidated
          Canandaigua, NY 14424                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $121,961.00
          Trimedx Health Care Equipment                                       Contingent
          5451 Lakeview Parkway South Drive                                   Unliquidated
          Indianapolis, IN 46268                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0108
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $170.00
          Tru Quality Medical Inc.                                            Contingent
          P.O. Box 1187                                                       Unliquidated
          Kennett Square, PA 19348                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,427.50
          Trusted Nurse Staffing LLC                                          Contingent
          500 Seneca Street                                                   Unliquidated
          Suite 501                                                           Disputed
          Buffalo, NY 14204
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $800.00
          TVTC Safety Training Centers                                        Contingent
          100 Safety Way                                                      Unliquidated
          Decatur, AL 35601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,271.07
          Twin City Ambulance Corp                                            Contingent
          PO Box 536032                                                       Unliquidated
          Pittsburgh, PA 15253-5902                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,074.70
          U&S Services, Inc.                                                  Contingent
          f/k/a SmartEdge                                                     Unliquidated
          95 Stark Street                                                     Disputed
          Tonawanda, NY 14150
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $495.00
          Ulrich Sign Co.                                                     Contingent
          177 Oakhurst Street                                                 Unliquidated
          Lockport, NY 14094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,126.96
          Unifirst Corporation                                                Contingent
          68 Jonspin Road                                                     Unliquidated
          Wilmington, MA 01887                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,160.20
          United Parcel Service                                               Contingent
          PO Box 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,020.20
          United States Postal Service / NeoPost                              Contingent
          400 White Clay Center Drive                                         Unliquidated
          Newark, DE 19711                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          University at Buffalo Surgeons Inc.                                 Contingent
          100 High Street                                                     Unliquidated
          Buffalo, NY 14203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,001.79
          University Emergency Medical Services                               Contingent
          77 Goodell Street, Suite 340                                        Unliquidated
          Buffalo, NY 14203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,435.44
          Upstate Niagara Cooperative Inc.                                    Contingent
          1730 Dale Road                                                      Unliquidated
          Buffalo, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Uresil                                                              Contingent
          5418 West Touhy Avenue                                              Unliquidated
          Skokie, IL 60077                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90,614.52
          US Foodservice                                                      Contingent
          125 Gardenville Parkway West                                        Unliquidated
          Buffalo, NY 14224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,052.60
          Usherwood Office Technology                                         Contingent
          2595 Brighton Henrietta Town Line Road                              Unliquidated
          Rochester, NY 14623                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,244.00
          Utah Medical Products Inc.                                          Contingent
          7043 South 300 West                                                 Unliquidated
          Midvale, UT 84047                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,395.00
          Valley Surgical                                                     Contingent
          633 South Andrews Avenue                                            Unliquidated
          Suite 400                                                           Disputed
          Fort Lauderdale, FL 33301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,155.00
          Vapotherm Inc.                                                      Contingent
          100 Domain Drive                                                    Unliquidated
          Exeter, NH 03833                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Verizon                                                             Contingent
          PO Box 15124                                                        Unliquidated
          Albany, NY 12212-5124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,926.50
          VRP NY P.A.                                                         Contingent
          25983 Network Place                                                 Unliquidated
          Chicago, IL 60673-1259                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,127.17
          WB Mason Co Inc.                                                    Contingent
          59 Centre Street                                                    Unliquidated
          Brockton, MA 02303                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,161.99
          Wendel Architects & Engineers                                       Contingent
          375 Essjay Road, Suite 200                                          Unliquidated
          Buffalo, NY 14221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,965.27
          Werfen USA LLC                                                      Contingent
          180 Hartwell Road                                                   Unliquidated
          Bedford, MA 01730-2443                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,847.00
          West Coast Medical Resources                                        Contingent
          520 Howard Court                                                    Unliquidated
          Clearwater, FL 33756                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
              Name

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,400.00
          Western New York Urology                                            Contingent
          PO Box 8000 Dept 118                                                Unliquidated
          Buffalo, NY 14267-0002                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,740.00
          Wilson's Pizza                                                      Contingent
          2730 Main Street                                                    Unliquidated
          Newfane, NY 14108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Windstream                                                          Contingent
          PO Box 9001013                                                      Unliquidated
          Louisville, KY 40290-1013                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,620.00
          WNY Medical Practice PC                                             Contingent
          1425 Portland Avenue                                                Unliquidated
          Rochester, NY 14621                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,142.49
          Wolters Kluwer Clinical Drug                                        Contingent
          1100 Terex Road                                                     Unliquidated
          Hudson, OH 44236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $161,140.38
          X-Cell Laboratories of WNY Inc.                                     Contingent
          20 Northpointe Parkway, Suite 100                                   Unliquidated
          Buffalo, NY 14228                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4215
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,042.00
          Xodus Medical Inc.                                                  Contingent
          702 Prominence Drive                                                Unliquidated
          New Kensington, PA 15068                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Eastern Niagara Hospital, Inc.                                                          Case number (if known)            1-20-10903-CLB
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 3.424     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $615.49
           Z-Medica                                                           Contingent
           4 Fairfield Boulevard                                              Unliquidated
           Wallingford, CT 06492                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $135.50
           Zerowet, Inc.                                                      Contingent
           PO Box 4375                                                        Unliquidated
           Palos Verdes Peninsula, CA 90274                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $129,913.75
           Zimmer Biomet Spine Inc.                                           Contingent
           1800 West Center Street                                            Unliquidated
           Bldg 5 MS-5162                                                     Disputed
           Warsaw, IN 46580
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      2979                         Is the claim subject to offset?    No  Yes
 3.427     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,699.73
           Zimmer USA                                                         Contingent
           358 Sonwil Drive                                                   Unliquidated
           Buffalo, NY 14222-5552                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $311.35
           Zoll Medical Corporation                                           Contingent
           269 Mill Road                                                      Unliquidated
           Chelmsford, MA 01824-4105                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                    2,336,344.19
 5b. Total claims from Part 2                                                                            5b.    +   $                   37,835,144.65

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      40,171,488.84




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 Fill in this information to identify the case:

 Debtor name         Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)         1-20-10903-CLB
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Lockport - Collective
              lease is for and the nature of              Bargaining Agreement
              the debtor's interest                       4/1/2018 - 4/1/2021

                  State the term remaining
                                                                                      1199 SEIU United Healthcare Workers East
              List the contract number of any                                         310 West 43rd Street
                    government contract                                               New York, NY 10036


 2.2.         State what the contract or                  Administration
              lease is for and the nature of              (RELIAS)
              the debtor's interest

                  State the term remaining
                                                                                      AHC Media LLC
              List the contract number of any                                         PO Box 74008620
                    government contract                                               Chicago, IL 60674-8620


 2.3.         State what the contract or                  Centurian Machines
              lease is for and the nature of              Cataract equipment
              the debtor's interest                       contract

                  State the term remaining
                                                                                      Alcon Laboratories Inc.
              List the contract number of any                                         6201 South Freeway
                    government contract                                               Fort Worth, TX 76134-2099


 2.4.         State what the contract or                  Fire safety contract
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      All State Fire Equipment of WNY
              List the contract number of any                                         400 Mineral Springs Road
                    government contract                                               Buffalo, NY 14224




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 1 of 10
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                     Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Hazardous and
             lease is for and the nature of               Non-Harzardous
             the debtor's interest                        Pharmaceuticals
                                                          contract
                  State the term remaining
                                                                                     BioServ
             List the contract number of any                                         10 Gramar Avenue
                   government contract                                               Prospect, CT 06712


 2.6.        State what the contract or                   Radiology contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Carestream Health Inc.
             List the contract number of any                                         150 Verona Street
                   government contract                                               Rochester, NY 14608


 2.7.        State what the contract or                   Cooling Tower contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Chem-Aqua
             List the contract number of any                                         PO Box 152170
                   government contract                                               Irving, TX 75015


 2.8.        State what the contract or                   Union Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     Civil Service Employees Association, Inc
                  State the term remaining                4/1/2016 - 7/31/2020       Local #1000, AFSCME, AFL-CIO
                                                                                     on behalf of Local #716
             List the contract number of any                                         143 Washington Street
                   government contract                                               Albany, NY 12210


 2.9.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Community Computer Service Inc.
             List the contract number of any                                         15 Hulbert Street
                   government contract                                               Auburn, NY 13021


 2.10.       State what the contract or                   Emergency Generator
             lease is for and the nature of               maintenance contract
             the debtor's interest

                  State the term remaining                                           Cummins Northeast
                                                                                     700 Aero Drive
             List the contract number of any                                         Buffalo, NY 14225
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 10
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                       Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.11.       State what the contract or                   Fire Alarm System
             lease is for and the nature of               maintenance contract
             the debtor's interest

                  State the term remaining                                             Davis-Ulmer Sprinkler Co.
                                                                                       Attn: Dennis Metz
             List the contract number of any                                           One Commerce Drive
                   government contract                                                 Buffalo, NY 14228-2395


 2.12.       State what the contract or                   Pest removal contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Ehrlich Co. Inc.
             List the contract number of any                                           505 Duke Road, Suite 300
                   government contract                                                 Buffalo, NY 14225


 2.13.       State what the contract or                   Water Filter for Surgery
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining                                             Evoqua Water Technologies LLC
                                                                                       Attn: Legal Department
             List the contract number of any                                           210 Sixth Avenue, Suite 3300
                   government contract                                                 Pittsburgh, PA 15222


 2.14.       State what the contract or                   Loan contract for 2016
             lease is for and the nature of               Silver Ford Escape -
             the debtor's interest                        Balance $5,657.27

                  State the term remaining                                             Ford Credit
                                                                                       Attn: Customer Service Center
             List the contract number of any                                           P.O. Box 542000
                   government contract                                                 Omaha, NE 68154-8000


 2.15.       State what the contract or                   Check overlays for AP
             lease is for and the nature of               and Payroll contract
             the debtor's interest

                  State the term remaining                                             FormFast Inc.
                                                                                       13421 Manchester Road
             List the contract number of any                                           Suite 208
                   government contract                                                 Saint Louis, MO 63131


 2.16.       State what the contract or                   Radiology equipment
             lease is for and the nature of               contract                     GE Healthcare
             the debtor's interest                                                     80 Woodster Heights Road
                                                                                       Danbury, CT 06810-7549
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 10
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                      Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Chiller services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                                            Gerster Trane (Trane U.S. Inc. )
                                                                                      45 Earhart Drive
             List the contract number of any                                          Suite 103
                   government contract                                                Buffalo, NY 14221


 2.18.       State what the contract or                   PM maintenance
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining                                            Gerster Trane (Trane USA Inc.)
                                                                                      45 Earhart Drive
             List the contract number of any                                          Suite 103
                   government contract                                                Buffalo, NY 14221


 2.19.       State what the contract or                   Severance Agreement
             lease is for and the nature of               dated June 22, 2018
             the debtor's interest

                  State the term remaining
                                                                                      Haar, Clare A.
             List the contract number of any                                          900 Delaware Avenue, #301
                   government contract                                                Buffalo, NY 14209


 2.20.       State what the contract or                   IT contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Inland Northwest Health Services Inc.
             List the contract number of any                                          601 West 1st Avenue
                   government contract                                                Spokane, WA 99201


 2.21.       State what the contract or                   Union Collective
             lease is for and the nature of               Bargaining Agreement
             the debtor's interest
                                                                                      International Union, United Automobile,
                  State the term remaining                1/1/2018 - 12/31/2020       Aerospace and Agricultural Implement
                                                                                      Workers of America, UAW Local 55
             List the contract number of any                                          35 George Karl Boulevard, Suite 300
                   government contract                                                Buffalo, NY 14221




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 Debtor 1 Eastern Niagara Hospital, Inc.                                                      Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.22.       State what the contract or                   Self Pay Collections
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1/31/2019-1/30/2020         Ivar, LLC d/b/a CaptureNet
                                                                                      Attn: Bryan Healy, Managing Member
             List the contract number of any                                          4835 East Cactus Road, Suite 430
                   government contract                                                Scottsdale, AZ 85254


 2.23.       State what the contract or                   ST100X (Sterrad
             lease is for and the nature of               Sterilizer) equipment
             the debtor's interest                        contract

                  State the term remaining
                                                                                      J & J Health Care Systems
             List the contract number of any                                          425 Hoes Lane
                   government contract                                                Piscataway, NJ 08855-6800


 2.24.       State what the contract or                   Affiliation Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/7/2016-perpetual          Kaleida Health Dept of Finance
                                                                                      726 Exchange Street
             List the contract number of any                                          Suite 200
                   government contract                                                Buffalo, NY 14210


 2.25.       State what the contract or                   Laparoscopy Tower -
             lease is for and the nature of               Surgery - Balance
             the debtor's interest                        $66,157.53

                  State the term remaining
                                                                                      Karl Storz Capital
             List the contract number of any                                          1111 Old Eagle School Road
                   government contract                                                Wayne, PA 19087


 2.26.       State what the contract or                   Snowplowing contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Lawns Unlimited Landscaping
             List the contract number of any                                          2344 Hess Road
                   government contract                                                Appleton, NY 14008


 2.27.       State what the contract or                   Secure paging for
             lease is for and the nature of               doctors contract
             the debtor's interest

                  State the term remaining                                            MaxMD
                                                                                      2200 Fletcher Avenue, Suite 506
             List the contract number of any                                          Fort Lee, NJ 07024-5063
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                       Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.28.       State what the contract or                   Autoverification system
             lease is for and the nature of               and dashboard
             the debtor's interest                        contract

                  State the term remaining
                                                                                       McKesson Medical-Surgical Inc.
             List the contract number of any                                           9954 Mayland Drive, Suite 4000
                   government contract                                                 Henrico, VA 23228-1484


 2.29.       State what the contract or                   Medtech contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Medical Information Technology, Inc.
             List the contract number of any                                           Meditech Circle
                   government contract                                                 Westwood, MA 02090


 2.30.       State what the contract or                   Computer software
             lease is for and the nature of               maintenance contract
             the debtor's interest

                  State the term remaining
                                                                                       Micro Focus Software Inc.
             List the contract number of any                                           PO Box 641025
                   government contract                                                 Pittsburgh, PA 15264-1025


 2.31.       State what the contract or                   Radiology equipment
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                       Milligray & Associates
             List the contract number of any                                           2141 Williston Heights
                   government contract                                                 Marilla, NY 14102-9717


 2.32.       State what the contract or                   Telemetry Monitors (2
             lease is for and the nature of               North & ICU) - Balance
             the debtor's interest                        $94,951.94

                  State the term remaining
                                                                                       Mindray DS USA Inc.
             List the contract number of any                                           1300 MacArthur Boulevard
                   government contract                                                 Mahwah, NJ 07430


 2.33.       State what the contract or                   IT contract
             lease is for and the nature of                                            Nuance Communications
             the debtor's interest                                                     One Wayside Drive
                                                                                       Burlington, MA 01803
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                     Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Radiology equipment
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                     NY Imaging
             List the contract number of any                                         1 D'Alfonso Road
                   government contract                                               Newburgh, NY 12550


 2.35.       State what the contract or                   Union Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7/1/2018-6/30/2021         NYS Nurses Association
                                                                                     155 Washington Avenue
             List the contract number of any                                         Suite 201
                   government contract                                               Albany, NY 12210


 2.36.       State what the contract or                   Prescription drug
             lease is for and the nature of               system contract
             the debtor's interest

                  State the term remaining
                                                                                     Omnicell Inc.
             List the contract number of any                                         509 East Middlefield Road
                   government contract                                               Mountain View, CA 94043


 2.37.       State what the contract or                   Miscellaneous
             lease is for and the nature of               Equipment - Balance
             the debtor's interest                        $262,452.99

                  State the term remaining                                           Pantheon Capital LLC
                                                                                     Crossroads Corporate Center
             List the contract number of any                                         1 International Boulevard, Suite 624
                   government contract                                               Mahwah, NJ 07495


 2.38.       State what the contract or                   Miscellaneous
             lease is for and the nature of               Equipment - Balance
             the debtor's interest                        $74,962.15

                  State the term remaining                                           Pantheon Capital LLC
                                                                                     Crossroads Corporate Center
             List the contract number of any                                         1 International Boulevard, Suite 624
                   government contract                                               Mahwah, NJ 07495




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 Debtor 1 Eastern Niagara Hospital, Inc.                                                     Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.39.       State what the contract or                   Check Sealer service
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining                6/15/2019-6/14/2020
                                                                                     Peak-Ryzex Inc.
             List the contract number of any                                         10330 Old Columbia Road
                   government contract                                               Columbia, MD 21046


 2.40.       State what the contract or                   Union Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10/1/2013-9/30/2020
                                                                                     PEF (SEIU)
             List the contract number of any                                         PO Box 2665
                   government contract                                               New York, NY 10108


 2.41.       State what the contract or                   Maintenance contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Schlinder Elevator Corp.
             List the contract number of any                                         80 Curtwright Drive, Suite 3
                   government contract                                               Williamsville, NY 14221


 2.42.       State what the contract or                   Document shredding
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                     Shred-It USA LLC
             List the contract number of any                                         440 Lawrence Bell Drive, #300
                   government contract                                               Tonawanda, NY 14150


 2.43.       State what the contract or                   Mammomat Inspiration
             lease is for and the nature of               equipment contract -
             the debtor's interest                        Balance $102,865.76

                  State the term remaining                                           Siemens Financial Services, Inc.
                                                                                     170 Wood Avenue South
             List the contract number of any                                         7th Floor
                   government contract                                               Iselin, NJ 08830


 2.44.       State what the contract or                   Ultrasound Acuson
             lease is for and the nature of               S1000 equipment
             the debtor's interest                        contract - Balance
                                                          $26,330.72                 Siemens Financial Services, Inc.
                  State the term remaining                                           170 Wood Avenue South
                                                                                     7th Floor
             List the contract number of any                                         Iselin, NJ 08830
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 Debtor 1 Eastern Niagara Hospital, Inc.                                                     Case number (if known)   1-20-10903-CLB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.45.       State what the contract or                   Ultrasound S1000
             lease is for and the nature of               equipment contract -
             the debtor's interest                        Balance $26,330.72

                  State the term remaining                                           Siemens Financial Services, Inc.
                                                                                     170 Wood Avenue South
             List the contract number of any                                         7th Floor
                   government contract                                               Iselin, NJ 08830


 2.46.       State what the contract or                   Ultrasound Acuson
             lease is for and the nature of               S2000 equipment
             the debtor's interest                        contract - Balance
                                                          $31,297.57
                  State the term remaining                                           Siemens Financial Services, Inc.
                                                                                     170 Wood Avenue South
             List the contract number of any                                         7th Floor
                   government contract                                               Iselin, NJ 08830


 2.47.       State what the contract or                   Ultrasound S2000
             lease is for and the nature of               equipment contract -
             the debtor's interest                        Balance $29,602.21

                  State the term remaining                                           Siemens Financial Services, Inc.
                                                                                     170 Wood Avenue South
             List the contract number of any                                         7th Floor
                   government contract                                               Iselin, NJ 08830


 2.48.       State what the contract or                   DX Vista 500 equipment
             lease is for and the nature of               contract - Balance
             the debtor's interest                        $16,283.14

                  State the term remaining                                           Siemens Financial Services, Inc.
                                                                                     170 Wood Avenue South
             List the contract number of any                                         7th Floor
                   government contract                                               Iselin, NJ 08830


 2.49.       State what the contract or                   Radiology PM
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Siemens Healthcare Diagnostics Inc.
             List the contract number of any                                         40 Liberty Boulevard
                   government contract                                               Malvern, PA 19355


 2.50.       State what the contract or                   Lab contract               Siemens Medical Solutions USA Inc.
             lease is for and the nature of                                          c/o Siemans Healthcare
             the debtor's interest                                                   40 Liberty Boulevard
                                                                                     Malvern, PA 19355
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 9 of 10
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Bio System contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Stericycle
             List the contract number of any                                         910 East 138th Street
                   government contract                                               Bronx, NY 10454


 2.52.       State what the contract or                   Sterilization System
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                     Steris Corporation
             List the contract number of any                                         5960 Heisley Road
                   government contract                                               Mentor, OH 44060-1834


 2.53.       State what the contract or                   Pro Care Stryker
             lease is for and the nature of               equipment contract
             the debtor's interest

                  State the term remaining
                                                                                     Stryker Instruments
             List the contract number of any                                         2825 Airview Boulevard
                   government contract                                               Portage, MI 49002


 2.54.       State what the contract or                   PM server maintenance
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                     Synergy Global Solutions, Inc.
             List the contract number of any                                         7871 Lehigh Crossing Drive, #1
                   government contract                                               Victor, NY 14564


 2.55.       State what the contract or                   Building Control
             lease is for and the nature of               Services contract
             the debtor's interest

                  State the term remaining                                           U&S Services, Inc.
                                                                                     f/k/a SmartEdge
             List the contract number of any                                         95 Stark Street
                   government contract                                               Tonawanda, NY 14150




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 Fill in this information to identify the case:

 Debtor name         Eastern Niagara Hospital, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NY

 Case number (if known)         1-20-10903-CLB
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




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Advanced Sterilization Products
33 Technology Drive
Irvine, CA 92618

Agility Health Inc.
6625 West 78th Street, Suite 300
Minneapolis, MN 55439

AIV Inc.
7485 Shipley Avenue
Harmans, MD 21077

Alere Toxicology Services Inc.
1111 Newton Street
Gretna, LA 70053

Applied Medical Technologies
8006 Katherine Boulevard
Brecksville, OH 44141

Audiomedtric Technology
90 Earhart Drive, Suite 2
Buffalo, NY 14221

Benoit Security Inc.
7736 West Somerset Road
Appleton, NY 14008

Brightview Radiology
210 West 101st Street, #10C
New York, NY 10025

Buccilli, Andrea M. M.D.
5 Overloook Park
Lancaster, NY 14086

Buffalo Expert Service Tech.
3003 Genesee Street
Buffalo, NY 14225

Buffalo Hotel Supply
PO Box 646
Buffalo, NY 14226-0646

Cafora's
2885 Main Street
Newfane, NY 14108


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Cicero Consulting Associates
925 Westchester Avenue, Suite 201
White Plains, NY 10604

CR Bard
8195 Industrial Boulevard
Covington, GA 30014

CR Bard
100 Crossings Boulevard
Warwick, RI 02886

CR Bard
605 North 5600 West
Salt Lake City, UT 84116

CR Bard
1415 West 3rd Street
Tempe, AZ 85281

Crooks, David M.D.
42 Countryside Lane
Depew, NY 14043

Crystal Rock
6750 Discovery Boulevard
Mableton, GA 30126

Depuy Inc.
5972 Collections Center Drive
Chicago, IL 60693

Dey, Manjushree M.D.
734 Davison Road
Lockport, NY 14094

E&L Repair
5998 Walnut Street
Newfane, NY 14108

Eastern Niagara Medical Group PC
534 Main Street
Medina, NY 14103

Ecolab HCS/Microtek Medical
PO Box 911633
Dallas, TX 75391-1633


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EMSL Analytical Inc.
200 Route 130 North
Cinnaminson, NJ 08077

Engage It
1801 Lind Avenue SW
Renton, WA 98057

Erie County Medical Center
462 Grider Street
Buffalo, NY 14215


Fattouch, Hany M.D.
PO Box 785
Buffalo, NY 14226

Fetterman, Charles J. M.D.
6420 Tonawanda Creek Road
Lockport, NY 14094

Freudenberg Medical LLC
1110 Mark Avenue
Carpinteria, CA 93013

GE Healthcare
80 Woodster Heights Road
Danbury, CT 06810-7549

GI Supply
5069 Ritter Road, Suite 104
Mechanicsburg, PA 17055

Great Lakes Medical Imaging LLC
199 Park Club Lane, Suite 300
Williamsville, NY 14221

Hodge, Robert W. M.D.
8842 Haseley Road
Gasport, NY 14067

Home Depot Credit Services
250 Campus Drive
Marlborough, MA 01752

Hovertech
4482 Innovation Way
Allentown, PA 18109

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HSBC Business Solutions
PO Box 5229
Carol Stream, IL 60197

Innovative Blood Resources
CB-0008, PO Box 1164
Minneapolis, MN 55480-1164

Ivar, LLC d/b/a CaptureNet
Attn: Bryan Healy, Managing Member
4835 East Cactus Road, Suite 430
Scottsdale, AZ 85254

J.J. Keller & Associates Inc.
PO Box 6609
Carol Stream, IL 60197-6609

Johnson, Eric M.D.
59 West Avenue
Brockport, NY 14420

Latina Boulevard Foods, LLC
1 Scrivner Drive
Buffalo, NY 14227

Lopez, Oscar S. M.D. P.C.
42 Brookshire Court
East Amherst, NY 14051

Lopez, Philip M.D. / MRO Express
3501 SW 185th Avenue
Hollywood, FL 33029

Med-Label
4 Briarhurst Drive
Flanders, NJ 07836

Mercy Flight Inc.
PO Box 535
Baldwinsville, NY 13027

Micro-Aire
2400 Austin Drive
Charlottesville, VA 22911

Mindray Capital
PO Box 24245
Seattle, WA 98124-0245

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Nenno, Donald J. II M.D.
468 Delaware Avenue, Suite 200
Buffalo, NY 14202

Niagara Gazette
473 Third Street
Niagara Falls, NY 14301

Northwest
PO Box 6818
Carol Stream, IL 60197-6818

Pal, Amandeep M.D.
210 Golden Pheasant Drive
Getzville, NY 14068

Performance Health
28100 Torch Parkway, Suite 700
Warrenville, IL 60555

Pfizer Inc.
PO Box 417510
Boston, MA 02241-7510

Roberto, Craig M.D.
#2 Wik Street
Buffalo, NY 14221

Schaefer Plumbing Supply Co. Inc.
68 Market Street
Lockport, NY 14094

Schratz, Jeffrey M.D.
160 East Avenue
Lockport, NY 14094

Security Credit Systems
100 River Rock Drive
Suite 200
Buffalo, NY 14207

Sheathing Technologies Inc.
675 Jarvis Drive
Morgan Hill, CA 95037




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Spok Inc.
3000 Technology Way
Suite 400
Plano, TX 75074

Teleflex Funding LLC
3015 Carrington Mill Boulevard
Morrisville, NC 27560

The Sherwin Williams Co.
5871 South Transit Road
Lockport, NY 14094

Thomas Reuters West
610 Opperman Drive
Eagan, MN 55123

Timkey Enterprises
301 Walnut Street
Lockport, NY 14094

Tops Market LLC
6592 Payshpere Circle
Chicago, IL 60674

Town & Country Club
717 East Avenue
Lockport, NY 14094

TVTC Safety Training Centers
100 Safety Way
Decatur, AL 35601

United States Postal Service / NeoPost
400 White Clay Center Drive
Newark, DE 19711

University Emergency Medical Services
77 Goodell Street, Suite 340
Buffalo, NY 14203

Utah Medical Products Inc.
7043 South 300 West
Midvale, UT 84047




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Valley Surgical
633 South Andrews Avenue
Suite 400
Fort Lauderdale, FL 33301

Western New York Urology
PO Box 8000 Dept 118
Buffalo, NY 14267-0002

Wilson's Pizza
2730 Main Street
Newfane, NY 14108

Wolters Kluwer Clinical Drug
1100 Terex Road
Hudson, OH 44236

Z-Medica
4 Fairfield Boulevard
Wallingford, CT 06492

Zerowet, Inc.
PO Box 4375
Palos Verdes Peninsula, CA 90274

Zinno, Matthew M.D.
5953 Kilarney Manor
Clarence Center, NY 14032

Zoll Medical Corporation
269 Mill Road
Chelmsford, MA 01824-4105




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